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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 SCOTT SEDORE #210661,
                                          NO. 2:22-cv-10060
       Plaintiff,
 v                                        HON. GERSHWIN A. DRAIN

 SIRENNA LANDFAIR, et al.,

       Defendants.
 __________________________________________________________________
 Joshua S. Goodrich (P83197)          O.G. Reasons (P80463)
 Lighthouse Litigation PLLC           Assistant Attorney General
 Attorney for Plaintiff               Mich. Dept. of Attorney General
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 Connor A. McLaughlin (P83229)        (517) 335-3055
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 __________________________________________________________________/

              NON-PARTY KIM CARGOR’S MOTION TO
                      QUASH SUBPOENA

            EXPEDITED CONSIDERATION REQUESTED
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       Non-party, Kim Cargor, moves pursuant to Fed. R. Civ. P.

 (45)(d)(3), to quash a subpoena presented to her the evening of

 Saturday, March 15, 2025, commanding her appearance at the

 upcoming trial in this matter on March 19, 2025. Concurrence in this

 motion was sought by telephone to Plaintiff’s counsel on March 16,

 2025, but concurrence in withdrawing the subpoena was not obtained.

                                    Respectfully submitted,

                                    /s/O.G. Reasons
                                    O.G. Reasons (P80463)
                                    Assistant Attorney General
                                    Attorney for Defs. Florek, Landfair,
                                      & MDOC
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 Dated: March 17, 2025




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 SCOTT SEDORE #210661,
                                          NO. 2:22-cv-10060
       Plaintiff,
 v                                        HON. GERSHWIN A. DRAIN

 SIRENNA LANDFAIR, et al.,

       Defendants.
 __________________________________________________________________
 Joshua S. Goodrich (P83197)          O.G. Reasons (P80463)
 Lighthouse Litigation PLLC           Assistant Attorney General
 Attorney for Plaintiff               Mich. Dept. of Attorney General
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 __________________________________________________________________/

  BRIEF IN SUPPORT OF NON-PARTY KIM CARGOR’S MOTION
                 TO QUASH SUBPOENA




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            CONCISE STATEMENT OF ISSUES PRESENTED

       1.    On a timely motion, a court must quash or modify a
             subpoena that subjects a person to undue burden. Plaintiff’s
             non-party subpoena subjects Kim Cargor to undue burden,
             as it commands her to appear at trial on unreasonably short
             notice, and the appearance would conflict with scheduled
             medical appointments. Should this Court quash the
             subpoena?




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      CONTROLLING OR MOST APPROPRIATE AUTHORITY


 Fed. R. Civ. P. 45(d)(3)




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                         STATEMENT OF FACTS

         On October 17, 2024, the court set this matter for a March 18,

 2025, trial. (ECF No. 123.) On March 11, 2025, the court required the

 parties to file a witness synopsis list of all witnesses that will be called

 at trial by March 13, 2025. (ECF No. 135.) Plaintiff filed his witness

 list on March 13, 2025, and did not include Kim Cargor as a witness.

         On the evening of Saturday, March 15, 2025, Plaintiff’s counsel

 went to Ms. Cargor’s residence and presented her a subpoena

 commanding her appearance at trial on Wednesday, March 19, 2025.

 (Ex. A, Cargor Declaration.) Ms. Cargor is currently on FMLA leave,

 has multiple prescheduled medical obligations the week of March 17-21,

 including Wednesday, March 19, and therefore, cannot appear at trial.

 (Id.)

                                ARGUMENT
 I.      The Court should quash the subpoena based on its
         unreasonably late service.

         The subpoena should be quashed under Rule 45(d)(3). Trial courts

 must quash or modify a subpoena that (1) fails to allow a reasonable

 time to comply, (2) requires a person to comply beyond the geographical

 limits specified in Rule 45(c), (3) requires disclosure of privileged or



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 other protected information if no exception or waiver applies, or (4)

 subjects a person to undue burden. Fed. R. Civ. P. 45. There is no

 specific number-of-days deadline listed under Rule 45 regarding how

 many days prior to trial that a subpoena must be served, however,

 serving a subpoena on a Saturday night before an upcoming trial the

 next week certainly must be unreasonable. While no case precedent

 with the specific facts at issue here could be found, there is much case

 precedent stating, that in general, serving a Rule 45 subpoena this late

 in time is unreasonable.

       Time periods under one week have consistently been found to be

 unreasonable for both subpoenas for documents and subpoenas for

 individuals to appear for deposition testimony. “[S]ubpoenas … issued

 three days before trial” did not provide “a reasonable time to comply

 with them.” Hillman Power Co., LLC v. On-Site Equip Maint., Inc., 672

 F Supp 3d 379, 386 (E.D. Mich. 2023) (citing Hill v. Homeward

 Residential, Inc., 799 F.3d 544, 552–53 (6th Cir. 2015) (affirming

 district court’s quashing of discovery subpoenas issued one week before

 trial); see also Memorial Hospice, Inc. v. Norris, No. 2:08–CV–084–B–A,

 2008 WL 4844758, at * 1 (N.D. Miss. Nov. 5, 2008) (eight days’ notice of



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 deposition not reasonable); United States v. Phillip Morris Inc., 312

 F.Supp.2d 27 (D.D.C.2004) (three business days’ notice not reasonable);

 In Re: Stratosphere Corporation Securities Litigation, 183 F.R.D. 684,

 687 (D. Nev. 1999) (six days’ notice not reasonable); United States v.

 Woods, 931 F. Supp. 433, 442 n. 3 (E.D. Va.1996) (subpoenas served

 seven days before a hearing did not provide reasonable time to comply).

       Not only does the subpoena at issue not provide a reasonable time

 to comply, it also imposes an undue burden on Ms. Cargor. Ms. Cargor

 is on FLMA leave and has numerous medical appointments next week,

 including on Wednesday March 19. (Ex. A, Cargor Declaration.)

 Commanding Ms. Cargor to cancel medical appointments to attend trial

 on such short notice imposes an undue burden on her. Accordingly, the

 subpoena should be quashed.

 II.   The testimony Plaintiff’s seeks to elicit from Ms. Cargor is
       not relevant to the incident at issue.

       Ms. Cargor was not employed at JCF in June 2021, which is when

 the incident at issue occurred, and therefore, Ms. Cargor has no

 personal involvement in the incident. (Ex. A, Cargor Declaration.)

 After receiving information that a subpoena was served on Ms. Cargor,

 the undersigned called and spoke over the telephone with Plaintiff’s


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 counsel, as Ms. Cargor was not included as a witness on Plaintiff’s

 witness list filed March 13, 2025. (See ECF No. 135.) Upon information

 and belief, the testimony that Plaintiff’s seeks to elicit from Ms. Cargor

 is not about the relevant incident, but about the allegations in an

 unrelated lawsuit Ms. Cargor filed against the MDOC. That lawsuit

 has no relevance to this case. For this reason as well, the subpoena

 should be quashed.

              CONCLUSION AND RELIEF REQUESTED

       For the reasons discussed above, non-party Kim Cargor

 respectfully requests this Honorable Court enter an order quashing

 Plaintiff’s subpoena commanding her to appear at trial in this matter

                                          Respectfully submitted,

                                          /s/ O.G. Reasons
                                          O.G. Reasons (P80463)
                                          Assistant Attorney General
                                          Mich. Dept. of Attorney General
                                          Attorney for MDOC Defendants
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 Dated: March 17, 2025




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                       CERTIFICATE OF SERVICE
        I hereby certify that on March 17, 2025, I electronically filed the
  foregoing document using the ECF System, which will provide
  electronic copies to parties of record.


                                           /s/ O.G. Reason
                                           O.G. Reasons (P80463)
                                           Assistant Attorney General
                                           Attorney for MDOC Defendants




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